Case 15-01145   Doc 8403   Filed 09/19/18 Entered 09/19/18 15:50:36   Desc Main
                           Document      Page 1 of 25




                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

In re:                              )     Chapter 11
                                    )
CAESARS ENTERTAINMENT               )     Case No. 15-01145 (ABG)
OPERATING COMPANY, INC., et al.,    )
                                    )
            Debtors.                )     Jointly Administered
____________________________________)




                     WHITEBOX ADVISORS, LLC’S
               MEMORANDUM OF LAW IN OPPOSITION TO
         EARL OF SANDWICH’S MOTION FOR SUMMARY JUDGMENT




                                          DRINKER BIDDLE & REATH LLP
                                          191 North Wacker Drive
                                          Suite 3700
                                          Chicago, Illinois 60606-1698
                                          Telephone: 312-569-1000
                                          Facsimile: 312-569-3000
 Case 15-01145               Doc 8403            Filed 09/19/18 Entered 09/19/18 15:50:36                                    Desc Main
                                                 Document      Page 2 of 25

                                                   TABLE OF CONTENTS

                                                                                                                                      Page



PRELIMINARY STATEMENT ................................................................................................... 1
STATEMENT OF MATERIAL UNDISPUTED FACTS ............................................................ 3
STANDARD FOR SUMMARY JUDGMENT ............................................................................. 7
ARGUMENT ................................................................................................................................. 8
I.        BECAUSE THE LAW OF ALL RELEVANT JURISDICTIONS IS
          CONSISTENT, THE COURT NEED NOT ENGAGE IN ANY CHOICE OF
          LAW ANALYSIS.............................................................................................................. 8
II.       SUMMARY JUDGMENT ON QUESTIONS OF CONTRACTUAL
          FORMATION SHOULD BE GRANTED ONLY SPARINGLY ..................................... 9
III.      THE RECORD EVIDENCE SHOWS THAT THE PARTIES FORMED A
          BINDING PRELIMINARY AGREEMENT FOR THE SALE OF EARL’S
          BANKRUPTCY CLAIMS, OBLIGING EACH SIDE TO NEGOTIATE
          DOCUMENTATION AND ANY REMAINING TERMS IN GOOD FAITH .............. 11
          A.         Whether the Intent to be Bound is Revealed by the Language of the
                     Agreement ............................................................................................................ 14
          B.         The Context of the Negotiations .......................................................................... 14
          C.         The Existence of Open Terms.............................................................................. 15
          D.         Partial Performance .............................................................................................. 15
          E.         The Necessity of Putting the Agreement in Final Form, as Indicated by the
                     Customary Form of Such Transaction ................................................................. 16
IV.       THE EARL-COWEN EMAILS DEMONSTRATE MUTUAL ASSENT TO THE
          TRADE ............................................................................................................................ 16
V.        THE CHAMPERTY DOCTRINE IS INAPPLICABLE ................................................. 18
CONCLUSION ............................................................................................................................ 19




                                                                             -
                                                                    - i --
Case 15-01145                Doc 8403           Filed 09/19/18 Entered 09/19/18 15:50:36                                Desc Main
                                                Document      Page 3 of 25




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

CASES

A/S Apothekernes Laboratorium for Specialpraeparater v. I.M.C. Chem. Group,
   Inc.,
   873 F.2d 155 (7th Cir. 1989) ...............................................................................................9, 12

Anderer v. Jones,
   385 F.3d 1043 (7th Cir. 2004) ...................................................................................................8

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) ...............................................................................................................7, 8

Bear Stearns Investment Products, Inc. v. Hitachi Automotive Products (USA),
   Inc.,
   401 B.R. 598 (S.D.N.Y. 2009)......................................................................................... passim

Bluebird Partners, L.P. v. First Fid. Bank, N.A.,
   94 N.Y.2d 726 (N.Y. 2000) ...............................................................................................18, 19

Bridgeview Health Care Ctr., Ltd. v. State Farm Fire & Cas. Co.,
   10 N.E.3d 902, 381 Ill. Dec. 493 (2014) ...................................................................................8

Brown v. Cara,
   420 F.3d 148 (2d Cir. 2005).........................................................................................11, 12, 15

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...............................................................................................................7, 8

Citadel Group Ltd. v. Washington Reg’l Med. Ctr.
    692 F.3d 580 (7th Cir. 2012) ...................................................................................................14

Consarc Corp. v Marine Midland Bank, N.A.,
   996 F.2d 568 (2d Cir. 1993).....................................................................................................10

EQT Infrastructure Ltd. v. Smith,
  861 F. Supp. 2d 220 (S.D.N.Y. 2012)......................................................................................11

Fairchild Hiller Corp. v. McDonnell Douglas Corp.,
   28 N.Y.2d 325 (N.Y. 1971) .....................................................................................................19

Int’l Bus. Mach. Corp. v. Johnson,
    629 F.Supp.2d 321 (S.D.N.Y. 2009)........................................................................................17



                                                                 - ii -
Case 15-01145               Doc 8403           Filed 09/19/18 Entered 09/19/18 15:50:36                              Desc Main
                                               Document      Page 4 of 25




J.P. Morgan Chase Bank, N.A. v. Jenkins,
    No. 14 C 4278, 2016 WL 4417072 (N.D. Ill. Aug. 18, 2016) ...................................................4

Pearce v. Manhattan Ensemble Theater, Inc.,
   No. 06 CV 1535(KMW), 2009 WL 3152127 (S.D.N.Y. Sept. 30, 2009) ...............................10

Philippi-Hagenbuch, Inc. v. Western Tech. Serv. Int’l, Inc.,
   Case No. 12–1099, 2015 WL 13590362 (C.D. Ill. June 2, 2015)..............................................4

Ronan Assocs., Inc. v. Local 94-94A-94B, Int’l Union of Operating Engineers,
   AFL-CIO,
   24 F.3d 447 (2d Cir. 1994).........................................................................................................9

Seko Worldwide, LLC v. Four Soft Ltd.,
   503 F.Supp.2d 1059 (N.D. Ill. 2007) .......................................................................................14

Solaia Tech. LLC v Arvinmeritor, Inc.,
   No. 02-C-4704, 2006 WL 695699 (N.D. Ill. Mar. 16, 2006) ..................................................13

Solus Alternative Asset Mgmt. L.P. v. Perry Corp.,
   No. 652341/12, 2015 WL 4240999 (N.Y. Sup. Ct. July 13, 2015) .........................................10

Spiegla v. Hull,
   371 F.3d 928 (7th Cir. 2004) .....................................................................................................8

Spiegla v. Hull,
   481 F.3d 961 (7th Cir. 2007) .....................................................................................................8

Srail v. Vill. of Lisle,
   588 F.3d 940 (7th Cir. 2009) .....................................................................................................8

Stonehill Cap. Mgmt. v. Bank of the West,
   28 N.Y.3d 439 (N.Y. 2016) .....................................................................................................18

Teachers Ins. & Annuity Ass’n of Am. v. Tribune Co.,
   670 F.Supp. 491 (S.D.N.Y. 1987).................................................................................... passim

Tractebel Energy Mktg., Inc. v. AEP Power Mktg., Inc.,
   487 F.3d 89 (2d Cir. 2007).......................................................................................................10

In re Westinghouse Elec. Co. LLC,
    No. 17-10751 (MEW), 2018 WL 3655702 (Bankr. S.D.N.Y. Aug. 1, 2018) ...................16, 18

Estate of Williams v. Indiana State Police,
   26 F. Supp. 3d 824 (S.D. Ind. 2014) ..........................................................................................4




                                                                - iii -
Case 15-01145               Doc 8403           Filed 09/19/18 Entered 09/19/18 15:50:36                               Desc Main
                                               Document      Page 5 of 25




Wittmer v. Peters,
   87 F.3d 916 (7th Cir. 1996) .......................................................................................................4

STATUTES, RULES & REGULATIONS

Federal Rule of Evidence 702 ..........................................................................................................5

N.Y. Judiciary Law § 489 ........................................................................................................18, 19

OTHER AUTHORITIES

Richard A. Lord, Williston on Contracts § 6:10 (4th ed. 2004) ....................................................17




                                                                - iv -
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36             Desc Main
                                   Document      Page 6 of 25




                                PRELIMINARY STATEMENT

       This case presents one narrow and straightforward question: did the movant Earl of

Sandwich (Atlantic City), LLC (“Earl”) enter into an enforceable preliminary agreement for the

sale of its claims in this bankruptcy, subject to the parties’ good faith negotiation of remaining

terms and documentation. Earl admits in its papers that the parties did in fact reach an agreement

on the amount of claims Earl would sell and the price Earl would be paid—the two key terms to

any agreement for the sale of trade claims. Earl argues, however, that the agreement was not

binding because the parties never signed a contract, and because terms other than price and claim

amount had yet to be agreed upon. As discussed below, Earl’s argument ignores on-point

decisions finding that “preliminary agreements” subject to documentation and further good faith

negotiations are in fact enforceable. For that reason, its motion should be denied.

       The Southern District of New York’s decision in Bear Stearns Investment Products, Inc.

v. Hitachi Automotive Products (USA), Inc., 401 B.R. 598 (S.D.N.Y. 2009), amply demonstrates

why Earl’s motion fails as a matter of law. In that case, the court found that Bear Stearns and

Hitachi had entered into a binding “Type II” preliminary agreement for the sale of Hitachi’s

bankruptcy claims. As here, the parties agreed through a series of emails and telephone

conversations on the amount of claims to be sold and the price to be paid, with the understanding

that the deal and any terms yet to be negotiated would ultimately be documented in a written

agreement. Hitachi, however, continued to solicit competing bids for its claims, and ultimately

cut off negotiations with Bear Stearns in order to pursue a more profitable sale to a different

buyer. When Bear Stearns sued, Hitachi argued (just as Earl does here) that there was no

enforceable deal between the parties because a written contract hadn’t been signed and there
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36              Desc Main
                                   Document      Page 7 of 25




were terms yet to be negotiated. The court rejected this argument, finding that, based on the

preliminary agreement, Hitachi was required to make a good faith effort to close the trade.

       In this matter, just as in Bear Stearns, the email exchange between Earl and Cowen

Special Investments LLC (“Cowen”) (Whitebox Advisors LLC’s (“Whitebox”) broker for this

transaction) show that the parties agreed on the key price terms and were committed to moving

forward with the sale of Earl’s claims, subject to due diligence and documentation. Critical for

the purposes of this motion, Cowen specifically asked Earl to confirm its intention to go forward

with the trade prior to Cowen expending the time and money to hire counsel and negotiate an

assignment of claim. Because Earl confirmed its intention to move forward with the trade, it was

obligated under Bear Stearns to negotiate the remaining terms of the deal in good faith—

something Earl admits it made no effort to do.

       In its motion papers, Earl all but ignores the law on preliminary agreements and instead

argues it is entitled to summary judgment because Whitebox has not produced a signed contract.

Most of the law Earl cites on this point is irrelevant because it does not involve the “Type II”

preliminary agreement at issue in Bear Stearns and this case. Similarly, Earl spends an

inordinate amount of time focusing on communications that occurred after the parties’ agreed to

the trade—for example, email communications between Whitebox and Cowen after it became

clear that Earl was refusing to live up to its obligation to negotiate in good faith. These facts are

also for the most part irrelevant. At best, they raise factual issues that may prevent the court

from granting summary judgment to Whitebox. But they do not and cannot justify any grant of

summary judgment for Earl, whose motion relies in significant part on the credibility of a single

witness (Thomas Avallone) who claims he was never authorized to enter into any kind of

agreement for the sale of Earl’s bankruptcy claims.


                                                 -2-
Case 15-01145        Doc 8403     Filed 09/19/18 Entered 09/19/18 15:50:36              Desc Main
                                  Document      Page 8 of 25




       Because Earl’s motion for summary judgment is supported by neither the applicable law

nor the relevant undisputed facts, this Court should deny the motion in all respects.

                   STATEMENT OF MATERIAL UNDISPUTED FACTS

       On April 18, 2015, Earl filed proof of bankruptcy claim no. 5497 (as amended, the

“Claim”) against Showboat Atlantic City Operating Company, LLC in this bankruptcy. See

Whitebox’s Counterstatement of Material Facts (“Counterstatement”) ¶ 1. The Claim is a

general unsecured claim in the amount of $3,600,000 and is eligible for payment as a Class I

claim under the Third Amended Joint Plan of Reorganization Pursuant to Chapter 11 of the

Bankruptcy Code filed by the Debtors on October 20, 2016. See id. ¶ 2.

       Earl agreed to sell its Claim to Cowen in January of 2017. Specifically, in a series of

email and telephone communications occurring on January 11 and 12, 2017, Bradley Schwab,

Managing Director at Cowen, and Thomas Avallone, Vice Chairman of Earl Enterprises, agreed

to a claims trade whereby Earl committed to sell the Claim to Cowen (the “Transaction”) for

$2.15 million. See id. ¶ 3.

       Three specific emails are key to the instant motion. In the first, sent on January 11, 2017

at 2:04 p.m. (ET), Mr. Avallone confirmed to Mr. Schwab that Earl was offering to sell the

Claim at $2.15 million, or 59.72% of its allowed face value. See id. ¶ 4. In the second, sent on

January 12, 2017 at 8:34 a.m., Mr. Schwab confirmed Cowen’s acceptance of Earl’s offer and

advised Mr. Avallone that, if Earl was prepared to go forward with the trade, Cowen would send

to Mr. Avallone a draft Assignment of Claim agreement. See id. ¶ 5. Mr. Schwab also stated

that Cowen’s acceptance “is good through 11 am eastern time today, January 12th.” See id. At

9:47 a.m. that same day, Mr. Avallone replied “Please forward draft document,” confirming his




                                               -3-
Case 15-01145         Doc 8403       Filed 09/19/18 Entered 09/19/18 15:50:36                 Desc Main
                                     Document      Page 9 of 25




agreement to the trade and the additional negotiations necessary to document the transaction. Id.

¶ 6.

        Following Mr. Avallone’s agreement to move forward on the trade, Gail Rosenblum, a

vice president at Cowen, sent Mr. Avallone a draft claims assignment agreement later that day.

See id. ¶ 7. Although Earl suggests otherwise, the document was not an agreement to sell Earl’s

claim on some future date, but rather was an assignment that effectuated the trade and shifted

title from one party to another—akin to the signing over of a deed to property at a house closing.

See Declaration of Jeffrey Chubak [Dkt. No. 8199] (“Chubak Decl.”), Ex. 5, WBA-176-185.

The record shows that the parties never discussed the preparation of any written contract

requiring Earl to close on the trade. Instead, the parties relied on the email communications

between Earl and Cowen.

        As set forth in the accompanying affidavit of Whitebox’s expert Peter Lupoff,1 parties

trading bankruptcy claims routinely negotiate binding and enforceable agreements over the

telephone, through email communications, and even through instant messaging communications,

before the preparation of any formal contract. See Declaration of Peter M. Lupoff (“Lupoff

Decl.”), Ex. A (Summary and Opinion of Peter M. Lupoff), at 1, 4.2 This practice is necessitated

1
 As set forth in his affidavit, Mr. Lupoff was a key player in the creation of the secondary market for
bankruptcy trade claims in the 1990s, and has negotiated thousands of trades over the course of his
twenty-five year investment career. See Lupoff Decl., Ex. A, at 2.
2
 Mr. Lupoff’s expert report constitutes competent summary judgment evidence. It is well-settled that an
expert report that is accompanied by an affidavit or sworn statement may be considered when resolving a
motion for summary judgment. See, e.g., J.P. Morgan Chase Bank, N.A. v. Jenkins, No. 14 C 4278, 2016
WL 4417072, at *2 and n.2 (N.D. Ill. Aug. 18, 2016) (citing Wittmer v. Peters, 87 F.3d 916, 917 (7th Cir.
1996); Estate of Williams v. Indiana State Police, 26 F. Supp. 3d 824, 837 (S.D. Ind. 2014)); see also
Philippi-Hagenbuch, Inc. v. Western Tech. Serv. Int’l, Inc., Case No. 12–1099, 2015 WL 13590362, at *3
(C.D. Ill. June 2, 2015) (finding that even an unsworn expert report may be considered when deciding
pending summary judgment motions where expert affirmed his opinions under oath and submitted an
affidavit verifying the authenticity of his reports). Here, Mr. Lupoff’s expert report, which is annexed to
his declaration, is dated, signed, and sworn. Further, Mr. Lupoff’s expert report is admissible under


                                                   -4-
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36               Desc Main
                                   Document     Page 10 of 25




by the volatility in prices in the claims trading market. See id.at 4. Because the secondary

market price for a bankruptcy claim may rise or fall sharply on any given day, parties routinely

ask each other to agree to the economics of the deal prior to either side preparing any document

or performing any due diligence. See id. at 4-5. Otherwise, a party may incur the expense of

preparing a draft contract only to find that its counterparty has decided to abandon the deal based

on a sudden increase or decrease in market prices. See id. at 4.

       As part of its business as a claims broker, Cowen also engaged third-parties for a

subsequent sale of the Claim. See Counterstatement ¶ 10. On or about January 12, 2017, Cowen

initiated discussions with Whitebox concerning a subsequent sale of the Claim. At 11:12 a.m.

(ET) on that same day (hours after Mr. Schwab accepted Mr. Avallone’s offer), Cowen sent an e-

mail trade confirmation to Whitebox that confirmed the terms of Whitebox’s acquisition of the

Claim. See id. Cowen sent the trade confirmation to Whitebox based on its belief that it had

agreed to a binding trade with Earl.

       On January 17, 2017, during the week following the above discussions, the Court

confirmed the Plan [Dkt. No. 6334], and the prices of claims similar to the one at issue in this

matter began to rise. This increase is evidenced by the trading price of the Debtors’ 10%

Second-Priority Senior Secured Notes due December 15, 2018, which receive approximately the

same percentage recovery under the Plan as Class I Claims.3

       Over the next several weeks into late February of 2017, Cowen reached out to Mr.


Federal Rule of Evidence 702, as set forth in Whitebox’s Preliminary Objection to Earl’s Motion in
Limine to Exclude Expert Report of Peter M. Lupoff, which is incorporated herein by reference [Dkt. No.
7776].
3
  From January 11, 2017 to January 18, 2017, the trading price of the notes increased from $76.25 to
$77.94. The trading price of the Second-Priority Senior Secured Notes provides a useful benchmark of
the Claim’s value because both will receive approximately the same percentage recovery under the Plan.


                                                 -5-
Case 15-01145       Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36            Desc Main
                                  Document     Page 11 of 25




Avallone to ensure that Earl would honor its obligations to Cowen. See id. ¶ 12. However, Mr.

Avallone remained silent and unresponsive to Cowen’s requests to have the parties move quickly

to close the Transaction. See id. During that time period, Mr. Avallone never communicated to

Cowen that a trade did not take place or that there was a misunderstanding between the parties.

See id. ¶ 13.

        Having received no response from Earl, Cowen sent a letter to Mr. Avallone on February

22, 2017 seeking to enforce the terms of the trade agreed to by the parties. See id. ¶ 14. On

February 28, 2017, in response to this letter, Mr. Avallone communicated to Ms. Rosenblum that

Earl’s sale of the Claim always required approval “from the owner of the business.” See id. ¶ 15.

This response marked the first time that Mr. Avallone (or any other representative of Earl) wrote

anything to the effect that approval of the Transaction was conditioned on or required approval

from someone other than Mr. Avallone.

        Discovery has confirmed that Mr. Avallone was the only representative of Earl to

participate in communications with Cowen concerning the sale of the Claim, and the

communications set forth in Exhibit A to the Declaration of Timothy R. Casey (“Casey Decl.”)

are the only written communications between Cowen and Earl with respect to the Claim and the

Transaction. Although Mr. Avallone has testified that he advised Mr. Schwab over the phone

that he did not have the authority to bind Earl absent the approval of his superiors, Mr. Avallone

never included this assertion in any of his written communications, and no other witness has

vouched for the truth of Mr. Avallone’s assertion.

        At no time during his communications with Cowen did Mr. Avallone ever make any

statements contrary to the written correspondence attached as Exhibit A to the Casey Decl.




                                               -6-
Case 15-01145         Doc 8403       Filed 09/19/18 Entered 09/19/18 15:50:36                Desc Main
                                     Document     Page 12 of 25




Likewise, at no point in time did Mr. Avallone or any other representative of Earl modify or

attempt to modify the terms of the Transaction set forth in the communications.

        Months later, on June 7, 2017, Whitebox learned from another party (Triax Capital

Advisors) that Earl was offering to sell the Claim for $3 million (or approximately 83 cents on

the dollar) rather than $2.15 million, the price the parties had agreed to. See id. ¶ 16.

On July 10, 2017, Whitebox commenced this disputed action by filing a motion asking the Court

to make a determination regarding Earl’s obligation to proceed with the trade. At a hearing held

on August 16, 2017, the Court ruled that Whitebox’s motion was procedurally improper and that

Whitebox must file a Rule 3001 Notice of Transfer before the Court would adjudicate the

parties’ respective rights.4 Whitebox filed a Notice of Transfer for the Claim on October 5,

2017. See Dkt. No. 7471.

                          STANDARD FOR SUMMARY JUDGMENT

        The Court’s obligation in the context of summary judgment is to determine whether there

exist genuine issues for trial. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986). “‘If . . .

there is any evidence in the record from any source from which a reasonable inference in the

[nonmoving party’s] favor may be drawn, the moving party simply cannot obtain a summary

judgment.’” Celotex Corp. v. Catrett, 477 U.S. 317, 331 n.2 (1986) (internal citations omitted).

“[A]ny doubt as to the existence of a genuine issue for trial should be resolved against the

moving party.” Id. at 331 n.2.

        The party seeking summary judgment bears the burden of showing there are no material



4
 Earl’s argument that it never “transferred its claim” as purportedly required by Rule 3001(e) is thus
beside the point, given that the Court directed Whitebox to file a Rule 3001 Notice of Transfer. See
Memorandum of Law in Support of Earl’s Motion for Summary Judgment [Dkt. No. 8197] (“Earl
MOL”), at 4.


                                                   -7-
Case 15-01145        Doc 8403     Filed 09/19/18 Entered 09/19/18 15:50:36              Desc Main
                                  Document     Page 13 of 25




issues of fact in dispute, Celotex, 477 U.S. at 323, but it is equally clear that “at summary

judgment, the judge’s function is not . . . to weigh the evidence and determine the truth of the

matter but to determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249. In

making that determination, the Court must consider the facts in the light most favorable to the

non-movant. See Srail v. Vill. of Lisle, 588 F.3d 940, 943 (7th Cir. 2009). Even if the facts are

not in dispute, summary judgment is inappropriate when the information before the court reveals

that “alternate inferences can be drawn from the available evidence.” Spiegla v. Hull, 371 F.3d

928, 935 (7th Cir. 2004), abrogated on other grounds by Spiegla v. Hull, 481 F.3d 961 (7th Cir.

2007); see also Anderer v. Jones, 385 F.3d 1043, 1064 (7th Cir. 2004).

        Viewing the facts with deference to Whitebox as required, Earl cannot sustain its burden

of proving that there are no issues of fact which would preclude Whitebox from presenting its

claims at trial.

                                           ARGUMENT

I.      BECAUSE THE LAW OF ALL RELEVANT JURISDICTIONS IS CONSISTENT,
        THE COURT NEED NOT ENGAGE IN ANY CHOICE OF LAW ANALYSIS

        The parties disagree on what law should govern the question of contract formation.

Whitebox believes that New York law should govern while Earl contends Illinois law controls.

See Earl MOL, at 5. The Court need not resolve that dispute, however, because there is no

substantive difference between the law of New York and Illinois relevant to this dispute. See

Bridgeview Health Care Ctr., Ltd. v. State Farm Fire & Cas. Co., 10 N.E.3d 902, 905, 381 Ill.

Dec. 493, 496 (2014) (“A choice-of-law determination is required only when a difference in law

will make a difference in the outcome.”) (internal quotations omitted). In analyzing the question

of whether a preliminary agreement existed under Illinois law, the Seventh Circuit extensively




                                                -8-
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36               Desc Main
                                   Document     Page 14 of 25




relied upon and quoted the seminal Teachers Insurance decision from District Judge Leval of the

Southern District of New York. See A/S Apothekernes Laboratorium for Specialpraeparater v.

I.M.C. Chem. Group, Inc., 873 F.2d 155, 158-60 (7th Cir. 1989) (relying upon and quoting

Teachers Ins. & Annuity Ass’n of Am. v. Tribune Co., 670 F.Supp. 491 (S.D.N.Y. 1987)). Earl

cites no case suggesting that the analysis set forth in Teachers Ins. is inconsistent with Illinois

law or, more generally, a correct statement of the law of contracts. Nor has Whitebox found any

such decision. Finally, the Bear Stearns case—which applies the preliminary agreement analysis

to bankruptcy claims trading and is an important precedent for this case—likewise relies upon

Teachers Insurance. See Bear Stearns, 401 B.R. at 624-28 (citing and quoting Teachers

Insurance, which it references as Tribune). Accordingly, Teachers Ins. and Bear Stearns are the

relevant precedent for considering the question of whether a preliminary agreement exists here,

irrespective of whether New York or Illinois law applies.

II.    SUMMARY JUDGMENT ON QUESTIONS OF CONTRACTUAL FORMATION
       SHOULD BE GRANTED ONLY SPARINGLY

       Whether a contact has been formed is often a mixed question of fact and law, requiring a

factual inquiry. See Ronan Assocs., Inc. v. Local 94-94A-94B, Int'l Union of Operating

Engineers, AFL-CIO, 24 F.3d 447, 449 (2d Cir. 1994) (“Under traditional principles of contract

law, questions as to what the parties said, what they intended, and how a statement by one party

was understood by the other are questions of fact; however, the matter of whether or not there

was a contract, in light of the factual findings on these questions, is an issue of law.”). More

specifically, “[w]hether a contracting party intends not to be bound in the absence of a[n]

[executed] writing is a question of fact to be presented for resolution to the factfinder at trial.”

Consarc Corp. v Marine Midland Bank, N.A., 996 F.2d 568, 576 (2d Cir. 1993).




                                                 -9-
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36               Desc Main
                                   Document     Page 15 of 25




       Thus, when determining whether a contract has been formed, “it is necessary that the

totality of all acts of the parties, their relationship and their objectives be considered,” which

requires a factual inquiry. Tractebel Energy Mktg., Inc. v. AEP Power Mktg., Inc., 487 F.3d 89,

97 (2d Cir. 2007). Beyond the communications between the parties, a determination on the

totality of the circumstances includes a review of each counterparty’s internal deliberations and

conduct. See, e.g., Bear Stearns, 401 B.R. at 606 (citing to Hitachi’s internal email saying a deal

had been struck and instructing employees to proceed to close with Bear Stearns). Courts also

look to industry custom when assessing parties’ objective intent to be bound. See Consarc, 996

F.2d at 575 (noting that in determining intent not to be bound, courts consider (among other

factors) “usage and custom of the industry”); Solus Alternative Asset Mgmt. L.P. v. Perry Corp.,

No. 652341/12, 2015 WL 4240999, at *9 (N.Y. Sup. Ct. July 13, 2015) (reviewing expert reports

regarding industry custom to determine whether a contract was formed to sell Madoff-related

bankruptcy claims). Indeed, even with a fully developed factual record, determining whether

parties intended to be bound to an agreement is often a triable issue. See Pearce v. Manhattan

Ensemble Theater, Inc., No. 06 CV 1535(KMW), 2009 WL 3152127, at *6 (S.D.N.Y. Sept. 30,

2009) (“Whether parties intended to be bound only by a written contract is a question of fact that

is usually best determined by a jury at trial”); see also Consarc, 996 F.2d at 576 (summary

judgment is “an improper procedural vehicle for determining the parties’ intent not to be bound

in the absence of written agreements—even in cases where evidence strongly suggests the

contrary.”).

       Consistent with the foregoing, Whitebox respectfully submits that, in the event that the

Court cannot discern the parties’ intent to be bound from an examination of the emails currently




                                                - 10 -
Case 15-01145        Doc 8403       Filed 09/19/18 Entered 09/19/18 15:50:36           Desc Main
                                    Document     Page 16 of 25




in the record, the Court should conduct an evidentiary hearing to resolve the contract formation

question raised by Earl’s motion.

III.   THE RECORD EVIDENCE SHOWS THAT THE PARTIES FORMED A
       BINDING PRELIMINARY AGREEMENT FOR THE SALE OF EARL’S
       BANKRUPTCY CLAIMS, OBLIGING EACH SIDE TO NEGOTIATE
       DOCUMENTATION AND ANY REMAINING TERMS IN GOOD FAITH

       A contract can be formed even if “there was a mutual intent to be bound to a preliminary

commitment . . . which required further steps.” Teachers Ins., 670 F. Supp. at 499-500; see also

Brown v. Cara, 420 F.3d 148, 156-57 (2d Cir. 2005) (finding that the parties were bound to

negotiate in good faith open terms and noting that the purpose of recognizing preliminary

agreements as binding is to “permit [parties] to make plans in reliance upon their preliminary

agreements and present market conditions . . . [without] expend[ing] enormous sums negotiating

every detail of final contract documentation before knowing whether they have an agreement,

and if so, on what terms.”) (internal citation omitted). Where parties explicitly agree that they do

not intend to be bound without an executed written contract, they nonetheless contractually bind

themselves to negotiate in good faith toward final documentation of that contract. See EQT

Infrastructure Ltd. v. Smith, 861 F. Supp. 2d 220, 229-30 (S.D.N.Y. 2012) (denying a motion to

dismiss and finding that an agreement to negotiate in good faith may exist even where the

purchase price was not binding); Teachers Ins., 670 F. Supp. at 498 (“[P]arties can bind

themselves to a concededly incomplete agreement in the sense that they accept a mutual

commitment to negotiate together in good faith in an effort to reach final agreement within the

scope that has been settled in the preliminary agreement.”). “The obligation to negotiate in good

faith has been generally described as preventing one party from, ‘renouncing the deal,

abandoning the negotiations, or insisting on conditions that do not conform to the preliminary




                                               - 11 -
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36             Desc Main
                                   Document     Page 17 of 25




agreement.’” A/S Apothekernes Laboratorium, 873 F.2d at 158 (quoting Teachers Ins., 670

F.Supp. at 498).

       Courts have identified five primary factors used to determine whether a preliminary

agreement encompassing an obligation to negotiate in good faith exists: (1) whether the intent to

be bound is revealed by the language of the agreement; (2) the context of the negotiations;

(3) the existence of open terms; (4) partial performance; and (5) the necessity of putting the

agreement in final form, as indicated by the customary form of such transactions. See Cara, 420

F.3d at 157; Bear Stearns, 401 B.R. 625. In the parlance of these cases, this type of preliminary

agreement is referred to as a “Type II” preliminary agreement.

       The above factors are similar to those used to determine whether the parties have reached

a meeting of the minds on a fully-formed contract, subject only to a more formal

memorialization—the so-called “Type I” preliminary agreement. Id. The factors, however,

“have a somewhat different significance where . . . the nature of the contract alleged is that it

commits the parties in good faith to negotiate the open terms.” Id. (quoting Teachers Ins., 670

F.Supp. at 499). “Put another way, if the question is whether the parties bound themselves to

negotiate in good faith towards a mutual contractual end, then ‘the language of the agreement, its

contents and omissions, and the context in which it was negotiated and signed, may lead to

different conclusions.’” Id. (quoting Cara, 420 F.3d at 157).

       In this regard, the factors set forth by Earl (see Earl MOL at 7-8) are inapposite because

they concern whether the parties created a fully-formed “Type I” contract, rather than a

preliminary “Type II” agreement to negotiate the final documents in good faith. As authority,

Earl cites Solaia Tech. LLC v Arvinmeritor, Inc., No. 02-C-4704, 2006 WL 695699 (N.D. Ill.

Mar. 16, 2006). That case, however, concerns an effort by one party to enforce an unsigned


                                                - 12 -
Case 15-01145        Doc 8403     Filed 09/19/18 Entered 09/19/18 15:50:36            Desc Main
                                  Document     Page 18 of 25




settlement as the embodiment of the deal. See id., at *5. It has nothing to do with whether

parties to a trade, upon agreeing to amount and price, had reached a preliminary agreement to use

good faith efforts to memorialize and close their trade.

       By contrast, the Bear Stearns case aptly demonstrates how courts should apply the

jurisprudence concerning preliminary agreements to a dispute over a trade of a bankruptcy claim.

In that case, the trade claim seller, Hitachi Automotive Products (USA) (“Hitachi”), discussed

selling its general unsecured and reclamation claims in the Delphi bankruptcy case to Bear

Stearns Investment Products, Inc. (“Bear Stearns”). Bear Stearns, 401 B.R. at 605. Through a

phone call and an email, the parties reached agreement as to price, type and amount of claim, and

also recognized that the deal would be documented through a trade confirm and assignment of

claim. See id. at 606. The parties then engaged in some back and forth over the language of the

trade document but did not reach agreement on a final version. See id. at 607-11. In the

meantime, Hitachi continued to entertain other bids and a few months later sold its claims to

Deutsche Bank for additional consideration. See id. at 611. Bear Stearns subsequently sued

Hitachi for breach of contract.

       The court first considered Bear Stearns’s contention that the parties had agreed to a fully-

formed “Type I” agreement that was subject only to final memorialization, but it rejected that

argument because there were certain material terms that were still to be negotiated. Id. at 619-

20. It then applied the five factors set forth above to determine whether the parties had entered

into a binding “Type II” agreement that required them to work in good faith to document the

sale, and granted Bear Stearns summary judgment to that effect. Id. at 624-28. Given that

Whitebox is not arguing that a fully-formed “Type I” agreement exists here, this Court should




                                               - 13 -
Case 15-01145         Doc 8403       Filed 09/19/18 Entered 09/19/18 15:50:36                  Desc Main
                                     Document     Page 19 of 25




turn to the five-factor analysis to determine whether a preliminary “Type II” agreement

encompassing an obligation to negotiate in good faith exists.5

        A.      Whether the Intent to be Bound is Revealed by the Language of the
                Agreement

        “Contracts of preliminary commitment characteristically contain language reserving

rights of approval and establishing conditions such as the preparation and execution of

documents satisfactory to the contracting party.” Teachers Ins., 670 F.Supp. at 500. In other

words, was there “mutual intent to be bound to a preliminary commitment” which “required

further steps?” Id. Terms of reservation are “by no means incompatible with intention to be

bound.” Id.

        Here, the parties expressly used the words “offer” and “acceptance.” See

Counterstatement ¶¶ 4 and 5. In addition, they made clear that they needed to reach this

agreement by 11 a.m. that morning—which they did. See id. ¶ 5. Finally, Mr. Avallone

recognized the need to work out the terms of the document to be signed at closing by replying:

“Please forward draft document.” See id. ¶ 6. All of this demonstrates an intent to be bound, as

opposed to mere negotiations.6

        B.      The Context of the Negotiations

5
  The duty to negotiate in good faith need not be expressed in the preliminary agreement. Citadel Group
Ltd. v. Washington Reg’l Med. Ctr. 692 F.3d 580, 592 (7th Cir. 2012) (“A [good faith duty to negotiate]
may be based on explicit language and language that is less so.” (internal citations omitted)) As Bear
Stearns makes clear, in the trading context, the courts focus the analysis on the five enumerated factors, as
opposed to whether the emails or telephone calls make an express reference to such a duty. In any event,
the parties here recognized that, after reaching their preliminary agreement, the next steps involved
negotiation of the final document of transfer to be signed at closing.
6
 Earl incorrectly asserts that the language of the draft assignment of claim demonstrates that absence of
an intent to be bound. Earl MOL at 9. “The fact that the subsequent written agreements provided the
written agreements would not be valid absent signing, does not mean that the [agreement reached in
emails] was conditioned on the signing as well.” Seko Worldwide, LLC v. Four Soft Ltd., 503 F.Supp.2d
1059, 1061 (N.D. Ill. 2007) (emphasis in original).


                                                   - 14 -
Case 15-01145        Doc 8403       Filed 09/19/18 Entered 09/19/18 15:50:36          Desc Main
                                    Document     Page 20 of 25




       Here, the context of the negotiations demonstrates that the parties had concluded

negotiations on the material terms—amount and price—because Mr. Schwab turned the process

over to Ms. Rosenblum to work on the documentation. Mr. Avallone never “broke off

negotiations,” as he now claims. Nor, for that matter, did he continue to negotiate, which one

might expect if parties had not yet reached a deal. Rather, at the time, he necessarily understood

that he had a deal in place and waited for the documentation so that he could move toward

closing at the agreed upon price.

       C.      The Existence of Open Terms

       “[W]here the existence of open terms creates a presumption against finding a binding

contract as to the ultimate goal, these same omissions may actually support finding a binding

Type II agreement.” Cara, 420 F.3d at 158 (internal citations omitted). In addition, where the

preliminary agreement covers the important economic terms, “the fact that countless pages of

relatively conventional minor clauses remain[] to be negotiated does not render the [preliminary]

agreement unenforceable.” Teachers Ins., 670 F.Supp. at 501.

       Here, the parties proceeded as any typical trade would—they agreed to the material

economic terms and left the ministerial documentation for later. Indeed, Mr. Avallone never

complained to Cowen about any of the terms of the assignment of claim. The fact that some of

the terms of the final document may have needed further negotiation is entirely consistent with

the expectations of the parties.

       D.      Partial Performance

       Courts do not attached “great importance” to this factor. Teachers Ins., 670 F.Supp. at

502. Nevertheless, Cowen took steps to perform by (i) preparing the documentation and




                                              - 15 -
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36              Desc Main
                                   Document     Page 21 of 25




(ii) lining up the downstream sale. See Counterstatement ¶ 10. While the parties did not reach

the closing table, Cowen was doing its part to complete the trade.

        E.     The Necessity of Putting the Agreement in Final Form, as Indicated by the
               Customary Form of Such Transaction

       Whitebox’s expert Peter Lupoff will testify that parties trading bankruptcy claims

routinely negotiate binding and enforceable agreements over the telephone, through email

communications, and even through instant messaging communications. See Lupoff Decl., Ex. A,

at 1, 4. Once they reach this binding preliminary agreement, they then prepare the final form of

the transfer document. See id. at 5. The custom thus supports Whitebox’s view that the parties

had reached a binding preliminary agreement.

IV.    THE EARL-COWEN EMAILS DEMONSTRATE MUTUAL ASSENT TO THE
       TRADE

       Relying on Judge Wiles’ Westinghouse opinion, Earl argues that no preliminary

agreement exists here because Schwab made a counteroffer to Avallone that was never accepted.

Earl MOL at 13-14. That argument is wrong because, in Westinghouse, Judge Wiles held that

Whitebox’s broker did not accept the seller’s offer as stated but instead raised a new economic

term for the deal—a provision for recourse with 5% interest—and thus made a counteroffer. See

In re Westinghouse Elec. Co. LLC, No. 17-10751 (MEW), 2018 WL 3655702, at *12-13 (Bankr.

S.D.N.Y. Aug. 1, 2018).7 Earl can make no such argument in this matter because Schwab never

added any such economic term.

       In addition, if Mr. Schwab’s response is viewed as a counteroffer, it was accepted by Mr,

Avallone. The record shows that Schwab asked Avallone if he was prepared to go forward with


7
  Whitebox has taken an appeal of the Westinghouse decision. Nothing stated herein should be
interpreted as an admission by Whitebox that Judge Wiles’ decision is correct.



                                                - 16 -
Case 15-01145        Doc 8403     Filed 09/19/18 Entered 09/19/18 15:50:36             Desc Main
                                  Document     Page 22 of 25




the trade, in which event Schwab would “forward a purchase and sale agreement for your

review.” Counterstatement ¶ 5. Mr. Avallone accepted by stating: “Please forward draft

document.” Id. ¶ 6. Earl cannot now recharacterize Mr. Avallone’s statement as something other

than acceptance, given that Cowen viewed it as assent to the trade. Richard A. Lord, Williston

on Contracts § 6:10 (4th ed. 2004) (“In short, how the offeror treats the offeree’s language will,

assuming that treating the language either as language of acceptance or treating it as language

requiring further discussion is reasonable, determine the language’s effect.”); see also Int’l Bus.

Mach. Corp. v. Johnson, 629 F.Supp.2d 321, 331 (S.D.N.Y. 2009) (“[A] contract is created when

the offeree engages in ambiguous conduct that leads an offeror to believe that the offeree has

assented to the deal.”). Thus, in this matter, there was an agreement on the price and the amount

of the trade, and that the parties should move forward with finalizing the trade based on the

economics to which each party had consented.

       Earl argues that summary judgment is appropriate based on a few communications

between Cowen and Whitebox immediately following Earl’s agreement to sell the Claim. Earl

MOL at 14-15. All that these communications show, however, is confusion and concern by

Whitebox and Cowen when Earl failed to follow through on its agreement to proceed with the

trade. Moreover, some of the evidence cited by Earl is fatal to its motion. Earl admits, for

example, that immediately following Earl’s agreement to sell its claim Cowen arranged to sell

the Claim to Whitebox, and sent Whitebox a trade confirmation documenting that sale. This

necessarily shows that Cowen believed that Earl had agreed to a trade.

       Cowen told Earl that it believed the parties’ had agreed to a binding trade, stating that:

       We believe that we had an agreement in principle on the terms of the trade
       and expect all parties to make a good faith effort to complete the



                                               - 17 -
Case 15-01145         Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36                 Desc Main
                                    Document     Page 23 of 25




        transaction on such terms, even while retaining rights to negotiate
        definitive documents and conduct reasonable due diligence, as applicable.

Transfer of Claim, Ex. 2, Ex. C [Dkt. No. 7471]. Cowen said the same thing to Whitebox,

writing that “Cowen takes the failure of a party to stand up to a trade as a very serious matter and

has therefore taken all reasonable actions to attempt to hold the seller to a good faith negotiation

to complete the trade.” Chubak Decl., Ex. 5, WBA-66. These statements, like Cowen’s

transmission of a trade confirmation to Whitebox, plainly show that Cowen believed it and Earl

had agreed to a binding trade, and were obliged to negotiate the rest of the deal in good faith.8 In

any event, because this evidence raises material questions of fact regarding the parties’ intent, the

Court should not grant summary judgment for Earl.

V.      THE CHAMPERTY DOCTRINE IS INAPPLICABLE

        Earl’s argument that Whitebox lacks standing because the Assignment and Release

Agreement between Whitebox and Cowen (the “A&R Agreement”) is champertous under N.Y.

Judiciary Law § 489(1) is without merit.

        As an initial matter, the issue of champerty should not be resolved by summary judgment.

See Bluebird Partners, L.P. v. First Fid. Bank, N.A., 94 N.Y.2d 726, 734-35 (N.Y. 2000) (noting

the Court of Appeals’ reluctance to find that an assignment is champertous as a matter of law).

8
  To the extent that Earl argues based on the Westinghouse opinion that agreements cannot be enforceable
where they are “subject to further documentation,” that is clearly not the law, as discussed above. See,
e.g, Stonehill Cap. Mgmt. v. Bank of the West, 28 N.Y.3d 439, 451 (N.Y. 2016) (referring to the “subject
to” language as “formulaic” and holding that the court “disagree[d] . . . that the ‘subject to’ language in
the April 27th email clearly expresses an intent not to be bound to the sale . . . . This email stated that
closure of the transaction required execution of a signed document and [plaintiff’s] tender of the 10%
deposit. That, however, is not the same as a clear expression that the parties were not bound to
consummate the sale and that [defendant] could withdraw at any time, for any reason.”) (emphasis
added). The court in Bear Stearns found that the parties had made an enforceable preliminary agreement
despite the fact that the parties agreed that they would later document the deal, even though the parties
never expressly stated to one another that their oral agreement to make the trade was legally binding. The
Bear Stearns decision correctly recognizes that trades like the one agreed to by Earl are made every day
based on phone calls, without any formal written agreement requiring the parties to close on the deal.


                                                  - 18 -
Case 15-01145        Doc 8403      Filed 09/19/18 Entered 09/19/18 15:50:36             Desc Main
                                   Document     Page 24 of 25




The “question of intent and purpose of the . . . assignee of a claim is usually a factual one to be

decided by the trier of facts.” Fairchild Hiller Corp. v. McDonnell Douglas Corp., 28 N.Y.2d

325, 330 (N.Y. 1971). Earl does not cite to any record evidence, beyond the A&R Agreement

itself, illuminating Whitebox’s intent in entering into the A&R Agreement.

       In addition, the language of the A&R Agreement belies any claims that it falls within the

exceedingly narrow scope of the champerty doctrine. New York law is clear: “in order to fall

within the statutory prohibition, the assignment must be made for the very purpose of bringing

suit and this implies an exclusion of any other purpose.” Id. (emphasis added). The sole purpose

of the A&R Agreement was not to permit Whitebox to sue Earl. Rather, the A&R Agreement

states that Whitebox “desires to purchase, acquire and receive, the Transferred Rights,” defined

as (a) any and all rights Cowen may have to purchase the Claim directly from Earl; and (b) any

and all claims Cowen may have against Earl. See Casey Decl., Ex. C, at 2. Thus, the A&R

Agreement had at least two purposes, one of which was to acquire the right to effectuate the

purchase of the Claim from Earl. Under these circumstances, champerty is inapplicable. See

Bluebird, 94 N.Y.2d at 736 (“Judiciary Law § 489 requires that the acquisition be made with the

intent and for the purpose (as contrasted to a purpose) of bringing an action or proceeding.”)

(emphasis in original).

                                          CONCLUSION

       WHEREFORE, Whitebox respectfully requests that the Motion be denied and that the

Court enter such further relief as it deems just and proper.




                                                - 19 -
Case 15-01145     Doc 8403   Filed 09/19/18 Entered 09/19/18 15:50:36               Desc Main
                             Document     Page 25 of 25




Dated: September 19, 2018                       Respectfully submitted,

                                                WHITEBOX ADVISORS, LLC


                                                By:     /s/ Timothy R. Casey
                                                        One of its attorneys

                                                Timothy R. Casey (A.R.D.C. # 6180828)
                                                Drinker Biddle & Reath LLP
                                                191 North Wacker Drive
                                                Suite 3700
                                                Chicago, Illinois 60606-1698
                                                Telephone: 312-569-1000
                                                Facsimile: 312-569-3000
                                                E-mail: Timothy.Casey@dbr.com

                                                        —and—

                                                James H. Millar
                                                Clay J. Pierce (previously admitted pro hac vice)
                                                Drinker Biddle & Reath LLP
                                                1177 Avenue of the Americas
                                                41st Floor
                                                New York, New York 10036
                                                Telephone: 212-248-3140
                                                Facsimile: 212-248-3141
                                                E-mail: James.Millar@dbr.com;
                                                        Clay.Pierce@dbr.com




                                       - 20 -
